Case 16-00130 Filed 08/19/16 Entered 08/19/16 16:43:03 Doc#79 Page 1 of 320

UST-10 COVER SHEET

 

MONTHLY FINANCIAL REPORT FOR
CORPORATE OR PARTNERSHIP DEBTOR

Case No. lO - 00/30 Report Month/Year Ob {2016
Debtor Aucora Gas, Lic

 

 

 

 

INSTRUCTIONS: The debtor’s monthly financial report shall include a cover sheet signed by the debtor and all UST forms and
supporting documents. Exceptions, if allowed, are noted in the checklist below. Failure to comply with the reporting requirements
of Local Bankruptcy Rule 2015-2(a), or the United States Trustee’s reporting requirements, is cause for conversion or dismissal of the
case.

The debtor has provided the following with this monthly financial report: Yes No

 

UST-12 Comparative Balance Sheet or debtor's balance sheet. a go
The debtor=s balance sheet, if used, shall include a breakdown of pre-and post-petition liabilities. The
breakdown may be provided as a separate attachment to the debtor's balance sheet.

 

 

 

 

UST-13 Comparative Income Statement or debtor's income statement. ar Oo
UST-14 Summary of Deposits and Disbursements Oo” oO
UST-14 Statement(s) of Cash Receipts and Disbursements Ww Oo
Continuation A Continuation Sheet shall be completed for each bank account or other source of debtor funds and shall

Sheets include a monthly bank statement and all supporting documents described in the instructions.

UST-15 Statement of Aged Receivables a oO

A detailed accounting of aged receivables shall be provided on, or in an attachment to, UST-15.

 

UST-16 Statement of Aged Post-Petition Payables Ge”
A detailed accounting of aged post-petition payables shall be provided on, or in an attachment to, UST-16.

 

UST-17 Other Information Oo hae
When applicable, attach supporting documents such as an escrow statement for the sale of real property or
an auctioneer’s report for property sold at auction. When changes or renewals of insurance occur, attach a
copy of the new certificate of insurance or a copy of the bond.

 

CONTACT INFORMATION

Who is the best person to contact if the UST has questions about this report?

Name Pati Polk
Telephone YEE O3o- 404¢oO
Email ff WHKE AUC Ora AAS {l¢, 4om

 

 

Monthly Financial Report - Corporate or Partnership Debtor Page 1 of 15
United States Trustee — District of Alaska (February 2012)
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| DEBTOR’S CERTIFICATION

Question 1 At month end, was the debtor delinquent on any
post-petition tax obligation?

INSTRUCTIONS: The debtor, or trustee, if appointed, must answer questions 1 and 2 and sign this
financial report where indicated below. Only an officer or director has authority to sign a financial
report for a corporate debtor and only a general partner has authority to sign a financial report fora
partnership debtor. Debtor's counsel may not sign a financial report for the debtor.

Yes O No Ee
If yes, list each delinquent
post-petition tax obligation on page 9.

 

Question 2 For purposes of calculating the debtor's obligation
under 28 U.S.C. 1930{a)(6} to pay a quarterly fee to the
United States Trustee, TOTAL DISBURSEMENTS this
month from all sources were:

 

Complete page 6 to calculate TOTAL
DISBURSEMENTS and enter the total
here.

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Debtor's
signature

 

 

| certify under penalty of perjury that other information contained in this monthly financial report is
complete, true, and accurate to the best of my knowdedge, information, and belief.

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Monthly Financial Report - Corporate or Partnership Debtor
United States Trustee — District of Alaska

Page 2 of 16
(February 2012)
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UST-12, COMPARATIVE BALANCE SHEET

 

 

See attached

 

As of month ending

 

ASSETS

 

Current Assets

 

Cash

 

Cash - Held by Others
(Escrow & Attorney Trust Accounts)

 

Accounts Receivable (net)

 

Notes Receivable

 

Inventory

 

Prepaid Expenses

 

Other (attach list)

 

Total Current Assets

 

Fixed Assets

 

Real Property/Buildings

 

Equipment

 

Accumulated Depreciation

 

Total Fixed Assets

 

Other Assets (attach list)

 

TOTAL ASSETS

 

 

 

 

LIABILITIES

 

Post-Petition Liabilities

 

Taxes Payable

 

Other Accounts Payables

 

Notes Payable

 

Rents, Leases & Mortgages Payable

 

Accrued Interest

 

Other (specify)

 

Total Post-Petition Liabilities

 

 

 

 

 

 

(cont'd. on next page)

 

Monthly Financial Report - Corporate or Partnership Debtor
United States Trustee — District of Alaska

Page 3 of 15
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UST-12, COMPARATIVE BALANCE SHEET (contd.)

 

 

 

As of month ending

 

Pre-Petition Liabilities

 

Unsecured Debt

 

Priority Debt:

 

Taxes

 

Wages

 

Deposits
Other
Notes Payable (Secured Debt)

 

 

 

Total Pre-Petition Liabilities

TOTAL LIABILITIES

 

 

EQUITY
Stockholders' Equity (Or Deficit)
Capital Stock

 

 

 

Paid-In Capital

 

Retained Earnings

 

Total Stockholder's Equity (Or Deficit)

 

Partners= Investment (Or Deficit)

TOTAL LIABILITIES AND STOCKHOLDERS
EQUITY OR PARTNERS INVESTMENT

 

 

 

 

 

 

Footnotes to balance sheet:

 

 

 

 

Monthly Financial Report - Corporate or Partnership Debtor Page 40715
United States Trustee — District of Alaska (February 2012)
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ASSETS
Current Assets
Checking/Savings
Cash & Cash Equivalents
Total Checking/Savings

Accounts Receivable
Accounts Receivable-Trade

Total Accounts Receivable

Other Current Assets
Deposits
Inventory
Prepaid Costs

Total Other Current Assets

Total Current Assets

Fixed Assets
Oil & Gas Properties
Other Plant & Equipment
Total Fixed Assets

Other Assets
Investment - CISPRI Partners LP
Total Other Assets

TOTAL ASSETS

LIABILITIES & EQUITY
Liabilities
Current Liabilities
Accounts Payable
Accounts Payable
Total Accounts Payable

Other Current Liabilities
Royalty Held in Suspense
Sales Tax Payable
Surface Use Fees-Liability

Total Other Current Liabilities

Total Current Liabilities

Total Liabilities

Equity
Capital Investment
Distribution
Excess Depletion
Retained Earnings
Net Income

Total Equity

TOTAL LIABILITIES & EQUITY

Jun 30, 16

341,254.14
341,254.14

 

1,431,852.29

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15,625.00
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369,236.62

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30,823.74
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Aurora Gas, LLC

As of June 30, 2016

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Aurora Gas, LLC

Case Number 16-00130

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Num Name Open Balance
2.017-1501 Tyonek Contractors, LLC 65,627.39
153619 Weaver Bros., Inc. 16,060.00
2012 Aurora Well Service, LLC 7,770.90
6056 Tripoint Alaska LLC 21,830.00
153706 Weaver Bros., inc. 1,700.00
153708 Weaver Bros., Inc. 11,600.00
153709 Weaver Bros., Inc. 12,920.00
153710 Weaver Bros., Inc. 15,624.50
1$020-002 ASRC Energy Services 19,192.64
153723 Weaver Bros., Inc. 24,181.00
M69106 Tanks-A-Lot, Inc. 16,955.00
2021 Aurora Well Service, LLC 64,189.24
2022 Aurora Well Service, LLC 9,969.29
90255944 Expro Americas, LLC 29,766.83
100115 State Wide Oil Field Services, LLC 6,462.36
2028 Aurora Well Service, LLC 19,319.24
2026 Aurora Well Service, LLC 2,892.52
77356 SolstenXP Inc. 13,700.00
153773 Weaver Bros., Inc. 15,820.00
153774 Weaver Bros., Inc. 16,073.50
001 Boatright & Sons LLC 17,094.00
2031 Aurora Well Service, LLC 7,681.15
2029 Aurora Well Service, LLC 69.50
2.016-1502 Tyonek Contractors, LLC 13,980.02
2.006-1509 Tyonek Contractors, LLC 30,401.95
12468403 RI Weatherford U.S., LP. 2,536.44
2033 Aurora Well Service, LLC 3,639.32
2034 Aurora Well Service, LLC 395.37
169855 New Tech Global Ventures LLC 19,800.00
153894 Weaver Bros., Inc. 7251.75
77426 SolstenXP Inc. 719.68
2032 Aurora Well Service, LLC 277.19
170232 New Tech Global Ventures LLC 13,950.00
170234 New Tech Global Ventures LLC 1,550.00
170235 New Tech Global Ventures LLC 1,550.00
170236 New Tech Global Ventures LLC 1,550.00
170240 New Tech Giobal Ventures LLC 3,100.00
170241 New Tech Global Ventures LLC 3,606.00
170238 New Tech Global Ventures LLC 1,550.00

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Breakdown of Pre Post Petition Liab.

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Aurora Well Service, LLC
Weaver Bros., Inc.

Pollard Wireiine, tnc.
Pollard Wireline, Inc.
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Pollard Wireline, Inc.
Tanks-A-Lot, Inc.
Tanks-A-Lot, Ine.

Aurora Well Service, LLC
Aurora Well Service, LLC
Cook Inlet Tug & Barge Inc.
RKH, LLC

Knight Oil Tools

Weaver Bros., Inc.

Boatright & Sons LLG
Shirleyvilie Enterprises, LLC
Aurora Well Service, LLC
Aurora Well Service, LLC
ASRC Energy Services
Tyonek Contractors, LLC
Tyonek Contractors, LLC
Aurora Well Service, LLC
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Aurora Well Service, LLC
Shirleyville Enterprises, LLC
Weaver Bros., Ins.

Weaver Bros., Inc.

Aurora Well Service, LLC
Aurora Well Service, LLC
Shirleyville Enterprises, LLC
Tanks-A-Lot, Inc.
Tanks-A-Lot, Inc.

Aurora Well Service, LLC
Aurora Well Service, LLC
Shirleyville Enterprises, LLC
Petrotechnical Resources of AK, LLC
Weaver Bros., Inc.
Shirleyville Enterprises, LLC
Aurora Well Service, LLC
Tanks-A-Lot, Inc.
Tanks-A-Lot, Inc.

Aurora Well Service, LLC
Shirleyville Enterprises, LLC
Aurora Well Service, LLC

Case Number 16-00130

Open Balance
2,519.07
36,207.75
14,658.60
1,822.00
1,635.00
6,936.00
45,939.00
19,407.00
1,882.07
131.79
42,553.11
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54,712.35
1,626.00
13,252.00
5,928.70
2,101.72
71.75
1,449.43
7,043.34
13,019.65
174.48
87.86
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6,388.95
924.00
1,131.25
204.02
1,596.55
6,726.70
31,329.00
11,367.00
241.62
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6,312.61
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2,343.00
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Aurora Gas, LLC

Case Number 16-00130

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Aurora Well Service, LLC
Tyonek Contractors, LLC

Industrial Instrument Services, Inc.

Aurora Well Service, LLC

Aurora Well Service, LLC
Shirleyville Enterprises, LLC

Industrial Instrument Services, Inc.

Industrial Instrument Services, Inc.

Weaver Bros., Inc.

AIMM Technologies, Inc.
Alaska Eco Resources, LLC
Shirleyville Enterprises, LLC
Aurora Well Service, LLC
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Shirleyville Enterprises, LLC
Aurora Well Service, LLC
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Aurora Well Service, LLC
Northern Industrial Training, LLC

Industrial Instrument Services, Inc.

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Shirleyvilie Enterprises, LLC

Industrial Instrument Services, Inc.

Aurora Well Service, LLC
Shirleyville Enterprises, LLC
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Shirleyville Enterprises, LLC
Aurora Well Service, LLC
Tanks-A-Lot, Inc.

Aurora Well Service, LLC
Shirleyville Enterprises, LLC
Aurora Well Service, LLC
Tyonek Contractors, LLC
Motion Industries

Pollard Wireline, Inc.
Pollard Wireline, Inc.
Pollard Wireline, Inc.
Shirleyville Enterprises, LLC
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Shirleyville Enterprises, LLC
Boatright & Sons LLG

Industrial Instrument Services, Inc.

Shirleyville Enterprises, LLC

Open Balance

1,376.87
10,145.32
1,241.00
174.48

429.86
6,437.74
318.00
499.51
1,143.75
104,901.00
118,800.00
6,293.86
180.99
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6,309.62
70.30
62.22
197.69
2,432.25
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6,205.94
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Aurora Well Service, LLC

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Industrial Instrument Services, Inc.
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Tyonek Contractors, LLC

Tyonek Native Corporation
Shirleyvilie Enterprises, LLC

PRE PETITION PAYABLES

Industrial Instrument Services, Inc.
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NC Machinery Co.

North Air Inc.

Alaska Oil Sales

Aurora Well Service, LLC
Shirleyville Enterprises, LLC

North Air Inc.

Aurora Well Service, LLC

Aurora Well Service, LLC
Shirleyville Enterprises, LLC
Shirleyville Enterprises, LLC
Industrial Instrument Services, Inc.
Enerflex Energy Services (US) Inc.
Enerflex Energy Services (US) Inc.
North Air Inc.

Weatherford Laboratories, Inc.

AIX Energy LLC

Furie Operating Alaska, LLC
Enstar Natural Gas Company-vendor
Kenai Beluga Pipeline

G. Scott Pfoff

Alaska Oil Sales

Aurora Well Service, LLC

Aurora Well Service, LLC
Shirleyville Enterprises, LLC
Northern Industrial Training, LLC
Rocky Mountain Oilfield Warehouse
N C Machinery Co.

Tyonek Contractors, LLC

Case Number 16-00130

Open Balance
241.62
294.12

72.65
504.87
154.50

1,152.51
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19,940.20
61,224.14
875.00
1,333,541.39

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2,630.80
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920.00
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N C Machinery Co.

UPS

Kenai Auto, inc.

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Aurora Well Service, LLC
DNOW L-P.

Aurora Well Service, LLC
Shirleyville Enterprises, LLC
Willis of Texas, Inc. - HRH
IHS Energy Group

CISPRI

SafeSite Inc

O'Brien's Response Management
Tyonek Native Corporation
Alaska Oil Sales

Enerflex Energy Services (US) Inc.
Federal Express

Rocky Mountain Oilfield Warehouse
AT&T Mobility

Aurora Well Service, LLC
Spemak Airways, Inc.
Shirleyville Enterprises, LLC
Aurora Well Service, LLC
Shirleyville Enterprises, LLC
Kenai Aviation, Inc

Chugach Electric

Chugach Electric

Chugach Electric

Chugach Electric

Chugach Electric

Chugach Electric

Federal Express

USAble Life

Navia Benefit Solutions
Chugach Electric

GCl

Konica Minolta Business Solutions USA
Aurora Well Service, LLC
Shirleyville Enterprises, LLC
Stellar Marine Services, LLC
Aurora Well Service, LLC
North Air inc.

Kenai Aviation, Inc

Tina Westfall

Case Number 16-00130

Open Balance
SESE

679.93
28.45
8,749.07
136.45
75.00
800.09
203.62
6,328.88
2,448.00
4,546.50
20,400.00
101.50
7,200.00
96,037.66
10,133.13
687.33
36.52
314.07
385.02
438.06
651.55
6,261.34
135.74
58.71
150.00
1,554.57
1,424.15
1,369.98
1,482.84
1,482.84
1,568.12
35.75
30.80
49.50
1,165.77
446 37
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Page 5 of 7
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Aurora Gas, LLC
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Breakdown of Pre Post Petition Liab.

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527493
G381-0716
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Chugach Electric

DNOWL.P.

AIX Energy LLC

Blakely & Weeks-Thome, PLLC
BDO USA, LLP

Satellite Alaska

Fast PC Networks

Beacon OHSS, Inc

Kenai Aviation, Inc

Industrial Instrument Services, Inc.
Switchboard Alaska, Inc

Aurora Weil Service, LLC
Shirleyville Enterprises, LLC
AlH

DNOW L.P.

Green Connection

S & J Automotive

S$ &J Automotive

Furie Operating Alaska, LLC
Kenai Beluga Pipeline

State of Alaska-Dept. of Revenue
State of Alaska-Dept. of Natural Resource
G. Scott Pfoff

CIRI

Aurora K-F

Aurora Power Resources, Inc.-vendor
Exxon Mobil Corporation

David L. Boelens-Royalty
Keiso & Marcella Masuda

Nial T. Masuda

Darlene E. Lee

Anne S. Sakumoto

Lee E. Coulthard

John L. Gremonini

Kirsten L. Cremonini

Ana M. Stroble

Fred S, Hokamma

John R. Roderick

Glenn S. Kaku

Tim T. Kaku

Candyce Y. Hudson

Lisa H. Robinson

Jay B. Hinkle

John W. Hinkle

Case Number 16-00130

Open Balance
267.60
468.86

21,245.00
3,712.50
924.00
104.55
441.21
95.00
214.38
2,377.00
55.00
1,201.11
6,695.49
28.80
129.70
67.75
90.00
180.00
107,598.00
19,634.13
285.00
21,498.88
18.85
18,042.16
5,455.17
4,093.20
1,604.06
1,556.72
292.37
97.46
97.46
97.46
158.37
52.79
52.79
263.95
263.95
127.91
65.99
65.99
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Page 6 of 7
10:26 AM Aurora Gas, LLC Case Number 16-00130

OpMREE 16-00130 Filed 08/198061 2Etdanpa Ritive/ Balance: Sheeboct 7ReppedMonshp tugs 2016
Breakdown of Pre Post Petition Liab.

Type Date Num Name Open Balance

Bill 06/30/2016 06.16 Larry K. Hinkle 52.79
Bill 06/30/2016 06.16 Larlane J. Ciesla 52.79
Bill 06/30/2016 06.16 Alice M. Langley 52.79
Bill 06/30/2016 06.16 Kathleen A. Traxinger 52.79
Bill 06/30/2016 06.16 Paul V. Traxinger 52.79
Bill 06/30/2016 06.16 Robert J. Traxinger Irrevocable Trust 52.79
Bill 06/30/2016 06.16 Patricia R. Evina 52.79
Bill 06/30/2016 06.16 Mary J. Horst 52.79
Bill 06/30/2016 06.16 Rose Marie Maresh 131.98
Bill 06/30/2016 06.16 Bernard F. Maresh, Jr. 18.85
Bill 06/30/2016 06.16 Daniel Thomas Maresh 18.85
Biil 06/30/2016 06.16 Dorothy Regina Miner 18.85
Bill 06/30/2016 06.16 Darrin J. Sommerville & Chelsea Sommervil 18.85
Bill 06/30/2016 06.16 Michele Rae Tonsing 18.85
Bill 06/30/2016 06.16 Rosalie Caren Talbert 18.85

POST PETITION PAYABLES 601,298.79

Page 7 of 7
 

 

 

 

 

 

Case 16-00130 Filed 08/19/16 entered 08/19/16 16-43-03 Dect 795-Page $3 e632
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UST-13, COMPARATIVE INCOME STATEMENT

 

See abached

 

For the month of

 

GROSS SALES

Less: Returns and Allowances

 

 

Net Sales

 

Cost of Sales:

Beginning Inventory

Add: Purchases

Less: Ending Inventory
Cost of Goods Sold

GROSS MARGIN

 

 

Other Operating Expenses:

 

Officers’ Salaries

 

Other Salaries/Direct Labor

 

Employee Benefits/Payroll Taxes

 

Insurance

 

Rent

 

General and Administrative
NET OPERATING PROFIT (LOSS)
Add: Other Income

 

 

 

Less: Interest Expense

 

Other Adjustments to Income (Explain)

 

Gain (Loss) on Sale of Assets

 

Net Profit (Loss) Before Taxes

 

Income Taxes
NET PROFIT (LOSS)

 

 

 

 

 

 

Notes:

 

 

 

 

Monthly Financial Report - Corporate or Partnership Debtor Page 5 of 15
United States Trustee — District of Alaska (February 2012)
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Case 16-00130 Filed 08/19/16 Entered 08/19/16 16

4:18 PM Aurora Gas, LLC

 

 

 

 

 

 

 

 

 

 

 

 

 

er pia Profit & Loss
January through June 2016
Jan 16 Feb 16 Mar 16 Apr 16 May 16 Jun 16 TOTAL
Ordinary Income/Expense
Income
Oil & Gas Production 403,308.12 360,665.33 405,853.23 387,628.35 371,356.74 430,393.85 2,379,205.62
Production Taxes 0.00 0,00 0.00 0.00 0,00 0.00 0.00
Royalty -67,948,00 -55,737.41 -66,443.01 -65,580,18 -53,375.70 -60,997.32 ~340,061.62
Well Overhead 1,792.06 799.37 647,05 0.00 0.00 0.00 3,238.48
Total Income 337,152.18 325,727.29 360,057.27 332,068.17 317,981.04 379,396.53 2,042,382 48
Cost of Goods Sold
Ad Valorem Taxes 6.00 0.00 0.00 0,00 0.00 43,733.28 43,733.28
Depletion Expense 48,826.66 38,642.39 37,065.96 35,633.67 31,893.97 36,284.34 228,346,99
Depreciation 13,781.49 13,781.49 13,781.49 13,781.49 13,761.49 13,781.49 82,688.94
Gathering and Transportation 27,940.50 26,357.20 6,555.72 20,435.95. 17,762.46 19,534.13 118,685.96
Lease Operating Expenses 138,720.74 151,811.47 153,310.71 145,453.53 146,581.10 148,933.45 884,811.00
Maintenance & Operations 0.00 1,465.97 351,16 351,16 0.00 351,16 2,519.46
Natural Gas Purchases 32,171.00 70,412.00 94,085.00 89,570.00 114,922.00 128,843.00 $30,003.00
Total COGS 261,440.39 302,470.52 305,150.04 305,225.80 324,941.02 391,560.85 1,890, 788.62
Gross Profit 75,711.79 23,266.77 44,907.23 26,842.37 ~6,959,.98 -12,164.32 151,593.86
Expense
Automobile Expense 0.00 0,00 0.00 0.00 17.82 9.07 26.89
Contributions 0.00 0.00 0.00 0.00 100,00 0.00 100.00
Depreciation Expense 1,161.40 1,161.40 1,161.40 1,161.40 1,161.40 1,161.40 6,968.40
Exploration Expenses 101.50 101.50 203.00 102.00 203,50 101.50 813.00
Insurance 2,224.58 2,213.90 2,225.60 5,067.27 4,998, 72 7,510.37 21,240.44
Licenses and Permits 0.00 0.00 0.00 0.00 10.00 100.00 110,00
Miscellaneous 1,557.93 5,918.77 1,831.27 41,528.75 2,525.78 22,696.95 36,059.45
Professional Fees. 27,157.57 13,461.18 9,349.33 8,540.12 4,214.82 13,084.84 78,807 83
Rent 9,852.90 9,852.90 9,852.90 9,852.90 9,852.90 9,852.90 $9,117.40
Salaries 64,976.12 65,094.33 64,065.14 63,384.65 64,370.13 64,330.64 386,221.01
Software Licenses. 0,00 0.00 0.00 0.00 0.00 4,546.50 4,546.50
Taxes 0.00 0.00 0.00 6,181.20 0.00 60,15 6,211.35
Travel & Ent 0.00 30,78 224.37 0.00 93.00 0.00 348.15
Unallocated Expenses 0.00 0.60 0,00 0.00 0.00 0.00 0.00
Total Expense 107,032.00 97,834.76 88,913.01 95,788.29 84,548.07 123,454.29 597,570.42
Net Ordinary Income -31,320.21 -74,577.99 -44,005.78 -68,945.92 -91,508.05 -135,618.64 -445,976.56
Other Income/Expense
Other Income
Other Income 0.00 0.00 0.00 0.00 6,00 0.00 0.00
Sales Tax Discount 0.20 0.20 0,20 0,20 0.20 0.00 1,00
Total Other Income 0.20 0.20 0.20 0.20 0.20 0.00 1,00
Net Other Income 0.20 0.20 0.20 0.20 0.20 0.00 4.00
Net Income -31,320.01 _-74,577.79  _-44,005.58  _-68,945.72 _-91,507.85 _-135,678.64 -445,975.56

 

 

 

 

 

 

Page 1 of 1
 

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UST-14, SUMMARY OF DEPOSITS & DISBURSEMENTS

 

 

INSTRUCTIONS: BEFORE COMPLETING THIS PAGE, prepare a UST-14 CONTINUATION SHEET (see next page) for each bank account
or other source of the debtor's funds. The deposit and disbursement total from each CONTINUATION SHEET will be used to complete this
SUMMARY.

The debtor is responsible for providing an accurate monthly disbursement total for the purpose of calculating its obligation pursuant to 28
U.S.C. Sec. 1930 (a)(6) to pay statutory fees to the United States Trustee. The disbursement total encompasses all payments made by the
bankruptcy estate during the reporting month, whether made directly by the debtor or by another party for the debtor. It includes checks
written and cash payments for inventory and equipment purchases, payroll and related taxes and expenses, other operating costs, and debt
reduction. It also includes payments made pursuant to joint check arrangements and those resulting from a sale or liquidation of the debtors
assets. The only transactions normally excluded from the disbursement total are transfers within the same reporting month between multiple
debtor accounts.

A fee payment is due within 30 days after the end of each calendar quarter, or on April 30, July 31, October 31, and January 31,
respectively. Since the amount billed is an estimate, the debtor is responsible for paying the correct statutory fee based on its actual
disbursements for the calendar quarter, or portion thereof the debtor was in Chapter 11. Failure to pay statutory fees to the United States
Trustee is cause for conversion or dismissal of the case. A copy of the statutory fee schedule may be found attached to this report.

If you have questions computing the disbursement total, contact the Bankruptcy Analyst assigned to your case at (206) 553-2000.

 

 

 

Summary of Deposits This Month

Deposits from UST-14 Continuation Sheet(s) J00O, 709.94

Cash receipts not included above (if any)

 

 

 

 

TOTAL RECEIPTS | SDO,409.9 14

 

Summary of Disbursements This Month

Disbursements from UST-14 Continuation Sheet(s) rae “- s df S 3. OO

Disbursements resulting from asset sales out of the ordinary course
(see Page 13, Question 1)

 

 

 

Disbursements made by other parties for the debtor (if any, explain)

 

Note: Enter the amount for TOTAL
DISBURSEMENTS here and on Page 2.

TOTAL DISBURSEMENTS CG 78,4 £3, 00

NET CASH FLOW (TOTAL RECEIPTS MINUS TOTAL

DISSBURSEMENTS) 77,4622, 99

 

 

 

At the end of this reporting month, did the debtor have any delinquent statutory fees owing to the United States
Trustee? Yes (| No if Yes, list each quarter that is delinquent and the amount due.

 

 

 

(UST-14 CONTINUATION SHEETS, with attachments, should follow this page.)

 

Monthly Financial Report - Corporate or Partnership Debtor Page 6 of 15
United States Trustee — District of Alaska (February 2012)
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UST-14, CONTINUATION SHEET

 

STATEMENT OF CASH RECEIPTS AND DISBURSEMENTS

 

 

 

 

INSTRUCTIONS: Prepare a CONTINUATION SHEET for each bank account or other source of the debtor's funds and attach supporting

documents as indicated on the checklist below.

 

 

Depository (bank) name CRIP
Account number Pank of Iivas N. A. S44}

 

 

Purpose of this account (select one):

~ General operating account

L) General payroll account

(1 Tax deposit account (payroll, sales, gambling, or other taxes)
(| Other (explain)

 

 

Beginning cash balance

208 21.3!

 

Add: Transfers in from other estate bank accounts

 

Cash receipts deposited to this account

342, 693, 68

 

Financing or other loaned funds (identify source)

 

Total cash available this month

 

Subtract: Transfers out to other estate bank accounts

950, 90999

 

Cash disbursements from this account
(total checks written plus cash withdrawals, if any)

78, 4483.09

 

Adjustments, if any (explain)

 

Ending cash balance

 

72,426.99

 

 

Does this CONTINUATION SHEET include the following supporting documents, as required: Yes No
A monthly bank statement (or trust account statement), ao go
A detailed list of receipts for that account (deposit log or receipts journal); ae a
A detailed list of disbursements for that account (check register or disbursement oe o
journal); and,
lf applicable, a detailed list of funds received and/or disbursed by another party for the g a

debtor.

 

UST-14 CONTINUATION SHEET, Number | of

 

 
ce Aurora Gas, LLC Case number 16-00130
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ed 0849116 Pa Gach Recaieke cieminaamenor# 72 Page 1/ of $20
Detailed List of Receipts

 

 

 

Type Date Name Amount
Cash & Cash Equivalents
Checking Accounts
Bank of Texas-8844

Payment 06/03/2016 Helena Energy LLC 19,979.85
Payment 06/24/2016 Tesoro Alaska Co., LLC 270,995.20
Payment 06/30/2016 Alaska Electric & Energy Cooperative 40,112.50
Payment 06/80/2016 Helena Energy LLC 14,606.13

342,693.68

Total Bank of Texas-8844

Page 1 of 1
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Checking Accounts
Bank of Texas-8844

Aurora Gas, LLC
UST-14 Continuation Sheet

Detailed List of Disbursement

Case Number 16-00130
Report Month: June 2016

Doc# 79 Page 18 of 32

 

Type Date Num Name Memo Amount
Bill Pmt -Check 06/01/2016 20879 7400 West Benson, LLC Suite 410 rent -6,522.90
Bill Pmt -Check 06/01/2016 20880 Aurora K-F ORRI May -§,456.77
Bill Pmt -Check 06/01/2016 20884 Aurora Power Resources, Inc.-vendor ORRI May -4,092,57
Bill Pmt -Check 06/01/2016 20882 BDO USA, LLP accounting consultant -2,829.75
Bill Pmt -Check 06/01/2016 20891 Blakely & Weeks-Thome, PLLC accounting consultant -387 50
Bill Pmt -Check 06/01/2016 20883 Blue Cross Blue Shield of Texas health ins -4,438.45
Bill Pmt -Check 06/01/2016 20884 Exxon Mobil Corporation royalty 1,638.75
Bill Pmt -Check 06/01/2016 20885 Fast PC Networks computer support -1,323,63
Bill Pmt -Gheck 06/07/2016 20892 G. Scott Pioff NCU royaity -17.99
Bill Pmt -Check 06/01/2016 20886 George Pollock Business Exp -942.60
Bill Pmt -Check 06/01/2016 20889 Principal Life Life Ins -568.82
Bill Pmt -Check 06/01/2016 20893 Robert E. Pledger consulting -812.50
Bill Pmt -Check 06/01/2016 20894 SafeSite Inc storage -101.50
Bill Pmt -Check 06/01/2016 20890 United Healthcare health ins -348.06
Bill Pmt -Check 06/01/2016 20895 Weatherford Laboratories, Inc. trade debt -102.00
Bill Pmt -Check 06/012016 20987 Willis of Texas, Inc. - HRH insurance -1,404.00
Bill Pmt -Check 06/01/2016 20974 Helena Energy, LLC Should be Helena - AS&G paid natural gas May usa! -4,771.43
Bill Pmt -Checik 66/02/2016 20986 Premera Biue Cross Biue Shicic of Alaska heath ins -14,421.43
Bill Pmt -Check 06/02/2016 paid online IPFS Corporation insurance -6,677.86
Bill Pmt -Check 06/02/2016 20975 Air Liquide America LP. trade debt -1,789.50
Bill Pmt -Check 06/02/2016 20976 Alaska Pump and Supply trade debt -368.00
Bill Pmt -Check OS/02/2015 20877 Alaska Waste trade debt -235.19
Bill Pmt -Check 06/02/2016 20978 Anchorage Chamber of Commerce 17354 -361.00
Bill Pmt -Check 06/02/2016 20879 Aurora Well Service, LLC trade debt -2,497.15
Bill Pmt -Check 06/02/2016 20980 Beacon OHSS. Inc trade debt -219.00
Bill Pmt -Check 06/02/2016 20981 Chugach Electric utility -741.86
Bill Pmt -Check 06/02/2016 20982 Coffman Engineers, Inc trade debt -762.00
Bill Pmt -Check 06/02/2016 20983 David L. Boelens BER BER 4/5 ta 5/2 -850.29
Bill Pmt -Check 06/02/2016 20984 DNOW L.P. trade debt -1,292.37
Bill Pmt -Gheck 06/02/2016 21025 Enerflex Energy Services (US) Ine. trade debt -4,139.09
Bill Pmt -Check O602/2016 21026 Everts Air Fuel, Inc. air travel -3,947.00
Bill Pmt -Check 06/02/2016 21027 Green Connection plants “67.75
Bill Pmt -Check 06/02/2016 21028 Industrial Instrument Services, Inc. trade debt -4,912.00
Bill Pmt -Check 06/02/2016 21029 Kenai Aviation, Inc air travel -2,811.10
Bill Pmt -Check 06/02/2016 21030 Mary Novotny Bus Exp -72.75
Bill Pmt -Check 06/02/2016 21031 NC Machinery Co, trade debt -790,17
Bill Pmt -Check 06/02/2016 21032 North Air Inc. trade debt -4,350.00
Bill Pmt -Check o6/02/2016 21033 O'Reilly Auto Parts trade debt -4,221.18
Bill Pmt -Check 06/02/2016 21034 Pollard Wireline, Inc. trade debt -5,991.00
Bill Prnt -Gheck 06/02/2016 21035 Rain for Rent, inc. trade debt -25.89
Bill Prt -Check 06022016 21037 Satellite Alaska communications 313.65
Bill Pmt -Check 06/02/2016 21038 Spernak Airways, Inc. Air travel -1,319,50
Bill Pmt -Check 06/02/2016 21039 Switchboard Alaska, Inc communications -55.00
Bill Pmi -Check 06/02/2016 21040 Three Mile Creek Services, Inc. trade debt 147.39
Bill Pmt -Check 06/02/2016 21041 TTT Environmental trade debt -310.00
Bill Pmt -Check 06/02/2016 21042 Tyonek Contractors, LLC trade debt -6,263.79
Bill Pmt -Check 06/02/2016 21043 UPS postage -13.90
Bill Pmt -Check 06/02/2016 21044 Enerflex Energy Services (US) Inc. trade debt -3,605.98
Bill Pmt -Check 06/02/2016 21045 North Air Inc. air travel 1,320.00
Bill Pmt -Check 06/02/2016 20988 Patti S. Polk Business Exp 443.64
Bill Pmt -Check 06/02/2016 20989 Shirleyville Enterprises, LLC trade debt-camp -12,6339.93
General Journal 06/03/2016 mn Field Employee Payrall -17,699.13
General Journal 06/03/2016 mn Field Employee Payroll Taxes -6,037.94
General Journal 06/03/2016 mn 401K Field Employee Payroll -853.91
Bill Pmt -Check 06/06/2016 wire Furie Operating Alaska, LLC Natural Gas Purchases -22,800.00
Bill Pmt -Check 06/08/2016 20990 Aurora Pawer Resources, Inc.-vendor Rent -4,686.31
Bill Pmt -Check 06/08/2016 21046 Air Liquide America LP. trade debt -615.75
Bill Pmt -Check 06/08/2016 21047 Alaska Waste waste disp ~236.27
Bill Pmt -Check 06/08/2016 21048 Chugach Electric utility -264.60
Bill Pmt -Check 06/08/2016 21049 David L Boelens BER Bus Exp -435.48
Bill Pmt -Check 06/08/2016 21050 Kenai Aviation, Inc air travel -536.88
Bill Pmt -Check 06/08/2016 21051 Muniicipality of Anchorage prop tax 60.15
Bill Pmt -Check 06/08/2016 21054 S$ & J Automotive trade debt -720.00

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Aurora Gas, LLC
UST-14 Continuation Sheet

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Detailed List of Disbursement

Case Number 16-00130
port Month: June 2016

Doc# 79 Page 1 19 of 320

 

Type Date Num Name Memo Amount
Check O6/08/2016 XxX Paychex payrall svc. 610.10
Bill Pmt -Check 06/09/2016 21058 $ & J Automotive trade debt -2,782.00
Check 06/10/2016 XXX Paychex-401K payroll svc 401K -197.00
Bill Pmt -Check 06/10/2016 21059 Alaska Dept of Natural Resources -100.00
General Journal 06/17/2016 mn Field Employee Payroll 44,674.23
General Journal 06/7/2016 mn Field Employee Payroll Taxes -6,063.46
General Journal 06/17/2016 mn 401K Field Employee Payroll 71,234.14
Bill Pmt -Check 06/29/2016 wire Kenai Peninsula Borough Property Tax -43,733.28
Bill Pmt -Check 06/29/2016 pd online IPFS Corporation TXH-483044 -5,843.74
Bill Pmt -Check 06/29/2016 20991 Blue Cross Biue Shield of Texas health ins -4,438.45
Bill Pmt -Check 06/29/2016 20892 Premera Blue Cross Blue Shield of Alaska health ins -10,309.62
Bill Pmt -Check 06/29/2016 20993 Principal Life life ins -568.82
Bill Pmt -Check 06/29/2016 20994 United Healthcare dental ins -348.06
Bill Prot -Gheck O6/29/2016 20995 Travelers 97 48K8104 4,462.75
General Journal 06/30/2016 PSP Payroll -38,505.52
General Journal 06/30/2016 PSP Payroll taxes -18,804.50
General Journal 06/30/2016 PsP Payroll 401 K -8,937.08
Bill Pmt -Check 06/30/2016 wire GIRI royalty June -16,537.57
Bill Pmt -Check 06/30/2016 wire State of Alaska-Dept. of Natural Resource royalty June -22,783.11
Bill Pmt -Check 06/30/2016 wire State of Alaska-Dept. of Revenue prod tax -283.00
Bill Pmt -Check 06/30/2016 20996 1400 West Benson, LLC Suite 410 rent -6,522.90
Bill Pmt -Check 06/30/2016 20997 Aurora K-F ORRI June -4,939,74
Bill Pmt -Check 06/30/2016 20998 Aurora Power Resources, Ine.-vendor ORR! June -5,706.33
Bill Pmt -Check 06/30/2016 20999 Exxon Mobil Corporation royalty -1,426.47
Bill Pmt -Check 06/30/2016 21060 Alice M. Langley NCU royalty -46.98
Bill Pmt -Check 06/30/2016 21061 Ana M. Stroble NCU royalty -234,90
Bill Pmt -Check 06/30/2016 21062 Anne S. Sakumoto NCU royalty 86.73
Bill Pmt -Check 06/30/2016 21063 Bernard F. Maresh, Jr. NCU royaity -16.78
Bill Pmt -Check 06/30/2016 21064 Candyce Y. Hudson NCU royalty 58.73
Bill Pmt -Check 06/30/2016 21065 Daniel Thomas Maresh NCU royalty -16.78
Bill Pmt -Check 06/30/2016 21066 Darlene E. Lee NCU royalty -86.73
Bill Pmt -Check 06/30/2016 21067 Darrin J. Sommerville & Chelsea Sommervil NCU royalty -16.78
Bill Pmt -Check 06/30/2016 21068 David L. Boelens-Royalty NCU royalty 1,420.87
Bill Pmt -Check 06/30/2016 21069 Dorothy Regina Miner NCU royalty -16.78
Bill Pmt -Check 06/30/2016 21070 Fred S, Hakama NCU royalty -234,90
Bill Pmt -Check 06/30/2016 21071 Glenn S. Kaku NCU royally -58.73
Bill Pmt -Check 06/30/2016 21072 Jay B. Hinkle NCU royalty 46.98
Bill Pmt -Check 06/30/2016 21073 John L. Cremonini NCU royalty -46.98
Bill Pmt -Check 06/30/2016 21074 John R. Roderick NCU royalty -113.84
Bill Pmt -Check 06/30/2016 21075 John W. Hinkle NCU royalty -46.98
Bill Pmt -Check 06/30/2016 21076 Kathleen A. Traxinger NCU royalty -46.98
Bill Prt -Check 06/30/2016 21077 Keiso & Marcella Masuda NCU royalty -260.19
Bill Pmt -Check 06/30/2016 24078 Kirsten L. Cremonini NCU royalty -46.98
Bill Pmt -Check 06/30/2016 21079 Larlane J. Ciesia NCU royalty -46.98
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Bill Pmt -Check O6/30/2016 21081 Lee E. Coulthard NCU royalty -140,94
Bill Pmt -Check a6/30/72016 21082 Lisa H. Robinson NCU royalty -58.73
Bill Pmt -Check 06/30/2016 21083 Mary J. Horst NCU royalty -46.98
Bill Pmt -Check 06/30/2016 21084 Michele Rae Tonsing NCU royaily -16.78
Bill Pmt -Check 06/30/2016 21085 Nial T. Masuda NCU royalty -86.73
Bill Pmt -Check 06/30/2016 21086 Patricia R. Evina NCU royalty 46.98
Bill Pmt -Check 06302016 21087 Paul V Traxinger NGU royalty -46.98
Bill Pmt -Check 06/30/2016 21088 Robert J. Traxinger Imevocable Trust NCU royalty -48.98
Bill Pmt -Check 06/30/2016 21089 Rosalie Caren Talbert NCU royaity -16.78
Bill Pmt -Check o6/30/2016 21090 Rose Marie Maresh NCU royaity 117.45
Bill Pmt -Check 06/30/2016 21091 Tim T. Kaku NCU royalty 58.73
Bill Pmt -Check 06/30/2016 21000 Willis of Texas, Inc. - HRH ins ~10,454.85
Check 06/30/2016 bank sve cha -166,55

Total Bank of Texas-8844 -400,197.97

Page 2 of 2
 

 

 

 

 

 

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UST-14, SUMMARY OF DISBURSEMENTS (conitd.)

 

 

Payments on Pre-Petition Unsecured Debt (requires court approval)

 

Did the debtor, or another party on behalf of the debtor, make any payments during this reporting month on

 

pre-petition unsecured debt?Yes (~~ No 1 if Yes, list each payment.
Payment Date of court
Payee name Nature of payment Payment date amount approval

 

Full list a#athed

 

 

 

 

 

 

 

 

 

 

Payments to Attorneys and Other Professionals (requires court approval)

 

Did the debtor, or another party on behalf of the debtor, make any payments during this reporting month to a

professional such as an attorney, oe realtor, appraiser, auctioneer, business consultant, or other
professional person? Yes No 4
If Yes, list each payment.

 

Payment Date of court
Professional name Type of work performed Payment date amount approval

BDO _USA,LLP | mathly royalty é| L-I-1¢ | 2829.75
tox Credit app.

 

 

 

 

 

 

 

 

 

Blakely |DeehS Thane. a.cetg b-I-lt | 337.50
Jermain Dunnagan Lea | Retainer (o-G-1¢ | 25,000.00
+ Owens P.€. Cad by DOGAG /Rieck)

 

Payments to an Officer, Director, Partner, or Other Insider of The Debtor

 

Did the debtor, or another party on behalf of the debtor, make any payments during this reporting month to an

 

officer, director, partner, or other insider of the debtor? Yes No 4 If Yes, list each
payment.
Payment Purpose of
Payee name Relationship to debtor Payment date amount payment

 

J. Edaiard Fores| “President | 6-30-16 | 17,631.24| Salary

 

 

 

 

 

 

 

 

 

 

 

 

INSTRUCTIONS: Use the last column to describe the purpose of each payment, such as gross wages or salary, reimbursement for business
expenses, loan repayment, advance, draw, bonus, dividend, stock distribution, or other reason for the payment (explain).

 

 

 

Monthly Financial Report - Corporate or Partnership Debtor

Page 7 of 15
United States Trustee — District of Alaska (April 2012)
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Payments on Pre Petition Unsecured Debt

 

 

Payee Name Nature of Payment Payment Date Payment Amount
Sls

Aurora K-F April ORR} 06/01/2016 -5,456.77
Aurora Power Resources, Inc.-vendor April ORRI 06/01/2016 4,092.57
BDO USA, LLP April Accounting 06/01/2016 -2,829.75
Blakely & Weeks-Thome, PLLC April Accounting 06/04/2016 -387.50
Exxon Mobil Corporation April royalty 06/01/2016 -1,638.75
G. Scott Pfoff April royalty 06/01/2016 -17.99
George Pollock Business Exp SPLIT Pre Pet 672.16 Post Pet GAP 270.4 06/01/2016 672.16
Robert E. Pledger March 2016 - Geology exp 06/01/2016 -812.50
Weatherford Laboratories, Inc. Jan - March trade debt 06/01/2016 -102.00
Willis of Texas, Inc. - HRH Audit Prem Adj 2015 Equip Ins 06/01/2016 -1,404.00
IPFS Corporation April Equip Ins premium 06/02/2016 6,677.86
Air Liquide America L.P. trade debt Mar Apr 06/02/2016 -1,789.50
Alaska Pump and Supply field supplies 06/02/2016 -368.00
Aurora Well Service, LLC trade debt 06/02/2016 -2,497.15
Beacon OHSS, Inc trade debt 06/02/2016 -219.00
Chugach Electric utility 06/02/2016 -741.86
Coffman Engineers, Inc trade debt 06/02/2016 -762.00
David L. Boelens BER business expense 06/02/2016 -850.29
DNOW L.P. trade debt 06/02/2016 -1,292.37
Enerflex Energy Services (US) Inc. trade debt 06/02/2016 4,139.09
Everts Air Fuel, Inc. air expense 06/02/2016 -5,947.00
Industrial Instrument Services, Inc. trade debt 06/02/2016 4,912.00
Kenai Aviation, Inc Air travel Post Petition $862.03 Pre Pettion 1949.17 06/02/2016 -1,949.17
Mary Novotny Business exp Split Pre 43.94 Post 28.81 06/02/2016 43.94
N C Machinery Co. trade debt 06/02/2016 -790,17
North Air Inc. Air travel (Orig amt $5,000-SV pd $650) 06/02/2016 -4,350.00
O'Reilly Auto Parts trade debt Split Pre 2288.94 Post 1932.24 06/02/2016 -2,288.94
Pollard Wireline, Inc. trade debt 06/02/2016 -5,391.00
Rain for Rent, Inc. trade debbt 06/02/2016 -25.89
Satellite Alaska communications 06/02/2016 -313.65
Spermak Airways, Inc. air exp March Activity 06/02/2016 -1,319.50
Three Mile Creek Services, Inc. trade debt 06/02/2016 -147.39
TTT Environmental trade debt 06/02/2016 -310.00
Tyonek Contractors, LLC trade debt 06/02/2016 6,263.79
Enerflex Energy Services (US) Inc. trade debt 06/02/2016 -3,605.98
North Air Inc. trade debt 06/02/2016 -1,320.00
Shirleyville Enterprises, LLC trade debt camp 06/02/2016 -12,639.93
Furie Operating Alaska, LLC natural gas purchases 06/06/2016 -22,800.00
S & J Automotive trade debt 06/09/2016 -2,782.00
Kenai Peninsula Borough property taxes for 2015 06/29/2016 -43, 733.28

-157,684.74

Page 1 of 1
 

 

 

 

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UST-15, STATEMENT OF AGED RECEIVABLES

 

 

 

 

INSTRUCTIONS:

1)

2)

the next page.

Complete all portions of UST-15, STATEMENT OF AGED RECEIVABLES, unless the debtor asserts the following two

statements are true for this reporting month:

At the beginning of the reporting month, the debtor did not have any uncollected receivables from prior months
which includes both pre-petition and post-petition accounts receivable; and,

During the reporting month, the debtor did not have any receivables activity, including the accrual of new

accounts receivable, or the collection or writeoff of accounts receivable from prior months.

Check here [_] if the debtor asserts that both statements are correct and skip to UST-16, STATEMENT OF POST-PETITION PAYABLES, on

 

Accounts Receivable Aging

 

 

Balance at Current Past due Past due Past due Uncollectible
month end portion 31-60 days 61-90 days over 90 days receivables
Pre-petition i
receivables 875, To! oO lo, S13 “at 164 657,359

 

Post-petition
receivables

496, 695

98,389

[20¢

 

TOTALS

 

(,372, 246

95,389

 

 

ior

 

=i"

 

62 1,555

 

 

Explain what efforts the debtor made during this reporting month to collect receivables over 60 days past due.

 

debtor?

 

If yes, explain.

Does the debtor have any accounts receivable due from an officer, director, partner, or other insider of the

 

 

Accounts Receivable Reconciliation

 

Closing balance from prior month

282, 334

 

New accounts receivable added this month

32,7449

 

Subtotal

 

Less accounts receivable collected

|, TS, 088%

324 2,

612

 

 

Closing balance for current month

 

|, 372, 39¢

 

 

 

Monthly Financial Report - Corporate or Partnership Debtor
United States Trustee — District of Alaska

Page 8 of 15
(April 2012)

 
 

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UST-16, STATEMENT OF POST-PETITION PAYABLES
PART A - TAXES

 

 

 

month:

INSTRUCTIONS: Complete both pages of PART A- TAXES unless the debtor asserts the following statement is true for this reporting

At the end of this reporting month, the debtor did not have any unpaid post-petition taxes which includes both current and

 

delinquent tax obligations.

Check adh tte debtor asserts the statement is correct, and skip to PART B - OTHER PAYABLES on Page 10.

 

 

Reconciliation of Unpaid Post-Petition Taxes

 

Type of tax

(1)

Unpaid post-petition
taxes from prior
reporting month

(2)

Post-petition taxes
accrued this month
(new obligations)

(3)

Post-petition tax
payments made this
reporting month

(4)

Unpaid post-petition
taxes at end of
reporting month

(Column 1+2-3 = 4)

 

Federal Taxes

 

Employee withholding taxes

 

FICA/Medicare-Employee

 

FICA/Medicare-Employer

 

Unemployment

 

State Taxes

 

Dept. of Revenue

 

Dept. of Labor & Industries

 

Empl. Security Dept.

 

Other Taxes

 

Local city/county

 

Gambling

 

Personal property

 

Real property

44,723.52.

HA, 7123, 52,

 

Other

 

 

 

 

 

 

Total Unpaid Post-Petition Taxes $ ¢ fz 793,52.
j

 

 

 

Monthly Financial Report - Corporate or Partnership Debtor

United States Trustee — District of Alaska

Page 9 of 15
(April 2012)
 

 

 

 

 

 

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UST-16, STATEMENT OF POST-PETITION PAYABLES
PART A - TAXES (contd.)

 

 

 

Delinquent Tax Reports and Tax Payments (post-petition only)

Taxing agency Tax reporting period Report due date Payment due date Amount due

OF O - LL 25,9 2.

Explain the reason for any delinquent tax reports or tax payments:

 

 

Monthly Financial Report - Corporate or Partnership Debtor Page 10 of 15
United States Trustee — District of Alaska (April 2012)
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Debtor Alucora Cas, (7 Report Mo/Yr Mi. 2Oi1L.
f e
UST-16, STATEMENT OF POST-PETITION PAYABLES
PART B - OTHER PAYABLES
INSTRUCTIONS: Complete both pages of PART B - OTHER PAYABLES unless the debtor asserts that this statement is true for this
reporting month:
Except for taxes and professional fees disclosed in PART A and PART C of this report, respectively, the debtor has no
other unpaid post-petition payables from the current reporting month, or from any prior reporting months.
Check here [Jif the debtor asserts the statement is correct, and skip to PART C - ESTIMATED PROFESSIONAL FEES on Page 12.
Reconciliation of Post-Petition Payables (excluding taxes and professional fees)
Closing balance from prior month 255 GG2r
New payables added this month 2) ot FS 2:
Subtotal WS53 Tod
Less payments made this month / bY, 15 y
Closing balance for this reporting month $ 5G, S56
Breakdown of Closing Balance by Age
Current portion 2 50 G53
Past due 1-30 days 2 SS J9.33
Past due 31-60 days
Past due 61-90 days
Past due over 90 days
Total $ SOG, SFL
For accounts payable more than 30 days past due, explain why payment has not been made:
Monthly Financial Report - Corporate or Partnership Debtor Page 11 of 15
(April 2012)

United States Trustee — District of Alaska
 

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UST-16, STATEMENT OF POST-PETITION PAYABLES
PART B - OTHER PAYABLES (contd.)

 

 

 

name, invoice date, invoice amount, and payment due date.

INSTRUCTIONS: List each post-petition payable delinquent more than 30 days. Alternatively, attach the debtor's accounts payable aging
report if the report: 1) clearly separates pre-and post-petition accounts payable, and, 2) identifies each delinquent payable by vendor

 

Delinquent Post-Petition Payables (excluding taxes and professional fees)

 

Vendor name

Invoice date

Invoice amount

Payment due date

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Monthly Financial Report - Corporate or Partnership Debtor
United States Trustee — District of Alaska

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Aurora Gas, LLC

Case Number 16-00130

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Part B-Other Payables

 

Type Date Num ame Due Date Post Petition
Bill 05/31/2016 776 North Air Inc. 06/30/2016 184.00
Bill 05/31/2016 Weatherford Laboratories, Inc. 06/30/2016 402.00
Bill 06/02/2016 183891 Alaska Oil Sales 07/02/2016 5,246.60
Bill 06/02/2016 2117 Aurora Well Service, LLC 07/02/2016 131.79
Bill 06/02/2016 2119 Aurora Well Service, LLC 07/02/2016 §20.20
Bill 06/02/2016 2190 Shirleyville Enterprises, LLC 07/02/2016 6,470.26
Bill 06/02/2016 12167 Northern Industrial Training, LLC 07/02/2016 230.00
Bill 06/17/2016 375068 Chugach Electric 07/02/2016 1,568.12
Bill 06/23/2016 BER 6/23 Tina Westfall 07/03/2016 83.99
Bill 06/06/2016 311053 Rocky Mountain Oilfield Warehouse 07/06/2016 142.10
Bill 06/06/2016 SCN16050025 N C Machinery Co. 07/06/2016 11.85
Bill 06/06/2016 2.006-1606 Tyonek Contractors, LLC 07/06/2016 5,126.92
Bill 06/06/2016 ANCS0662284 N C Machinery Co. 07/06/2016 679.93
Bill 06/07/2016 2120 Aurora Well Service, LLC 07/07/2016 75.00
Bill 06/07/2016 909557328 DNOW L.P. 07/07/2016 800.09
Bill 06/07/2016 2121 Aurora Well Service, LLC 07/07/2016 203.62
Bill 06/07/2016 2194 Shirleyville Enterprises, LLC 07/07/2016 6,328.88
Bill 06/27/2016 AIX Energy LLC 07/07/2016 21,245.00
Bill 06/27/2016 13312 Blakely & Weeks-Thome, PLLC 07/07/2016 3,712.50
Bill 06/27/2016 BDO USA, LLP 07/07/2016 924.00
Bill 06/08/2016 IHS Energy Group 07/08/2016 4,546.50
Bill 06/28/2016 G381-0716 Switchboard Alaska, Inc 07/08/2016 55.00
Bill 06/09/2016 184331 Alaska Oil Sales 07/09/2016 10,133.13
Bill 06/09/2016 90123298 Enerflex Energy Services (US) Inc. 07/09/2016 687.33
Bill 06/24/2016 374324 Chugach Electric 07/09/2016 267.60
Bill 06/30/2016 23635 Green Connection 07/10/2016 67.75
Bill 06/30/2016 Kenai Beluga Pipeline 07/10/2016 19,634.13
Bill 06/30/2016 State of Alaska-Dept. of Revenue 07/10/2016 285.00
Bill 06/13/2016 311337 Rocky Mountain Oilfield Warehouse 07/13/2016 314.07
Bill 06/14/2016 2123 Aurora Well Service, LLC 07/14/2016 438.06
Bill 06/14/2016 May Activity Spernak Airways, Inc. 07/14/2016 651.55
Bill 06/14/2016 2196 Shirleyville Enterprises, LLC 07/14/2016 6,261.34
Bill 06/14/2016 2124 Aurora Well Service, LLC 07/44/2016 135.74
Bill 06/15/2016 17074 Kenai Aviation, Inc 07/15/2016 150.00
Bill 06/21/2016 2126 Aurora Well Service, LLC 07/21/2016 509.06
Bill 06/21/2016 2204 Shirleyville Enterprises, LLC 07/21/2016 6,426.49
Bill 06/21/2016 1011 Stellar Marine Services, LLC 07/21/2016 1,600.00
Bill 06/21/2016 2129 Aurora Well Service, LLC 07/21/2016 219.65
Bill 06/22/2016 830 North Air Inc. 07/22/2016 440.00
Bill 06/22/2016 17083 Kenai Aviation, Inc 07/22/2016 483.75
Bill 06/27/2016 909627646 DNOW L-P. 07/27/2016 468.86
Bill 06/30/2016 Furie Operating Alaska, LLC 07/27/2016 107,598.00
Bill 06/28/2016 B232523 Beacon OHSS, Inc 07/28/2016 95.00
Bill 06/28/2016 17089 Kenai Aviation, Inc 07/28/2016 214.38
Bill 06/28/2016 527493 Industrial Instrument Services, Inc. 07/28/2016 2,377.00
Bill 06/28/2016 2131 Aurora Well Service, LLC 07/28/2016 1,201.11
Bill 06/28/2016 2207 Shirleyville Enterprises, LLC 07/28/2016 6,695.49
Bill 06/30/2016 909642016 DNOW LP. 07/30/2016 129.70
Bill 06/30/2016 6/11 897 S$ & J Automotive 07/30/2016 90.00

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S & J Automotive
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State of Alaska-Dept. of Natural Resource
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Aurora Power Resources, Inc.-vendor
Exxon Mobil Corporation

G. Scott Ptoff

David L. Boelens-Royalty

Keiso & Marcella Masuda

Fred S. Hokama

John R. Roderick

Jay B. Hinkle

John W. Hinkle

Larry K. Hinkle

Larlane J. Ciesla

Alice M. Langley

Kathleen A. Traxinger

Paul V. Traxinger

Patricia R. Evina

Mary J. Horst

Rose Marie Maresh

Nial T. Masuda

Darlene E. Lee

Anne S. Sakumoto

Lee E. Coulthard

John L. Gremonini

Kirsten L. Cremonini

Ana M. Stroble

Glenn 8. Kaku

Tim T. Kaku

Candyce Y. Hudson

Lisa H. Robinson

Robert J. Traxinger Irrevocable Trust
Bernard F. Maresh, Jr.

Daniel Thomas Maresh

Dorothy Regina Miner

Darrin J. Sommerville & Chelsea Sommervil
Michele Rae Tonsing

Rosalie Caren Talbert

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Post Petition Royalties
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G. Scott Pfoff

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Industrial Instrument Services, Inc.
DNOW L-P.

AIX Energy LLC

Furie Operating Alaska, LLC

Case Number 16-00130

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Part B-Other Payables

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Part B-Other Payables

Bill 05/31/2016 Enstar Natural Gas Company-vendor 06/10/2016 11,606.13
Bill 05/31/2016 Kenai Beluga Pipeline 06/10/2016 17,762.46
Credit 06/14/2016 2200 Shirleyville Enterprises, LLC -58.71
Bill 05/17/2016 ANCS0660795 N C Machinery Co. 06/16/2016 572.92
Bill 05/7/2016 757 North Air Inc. 06/16/2016 440.00
Bill 06/06/2016 6730 Kenai Auto, Inc. 06/16/2016 8,749.07
Credit 06/17/2016 375068 Chugach Electric 1,165.77
Bill 06/17/2016 71875778 GCl 06/17/2016 446.37
Bill 05/19/2016 183465 Alaska Oil Sales 06/18/2016 2,630.80
Bill 06/08/2016 SafeSite Inc 06/18/2016 101.50
Bill 06/08/2016 TNC 16-154 Tyonek Native Corporation 06/18/2016 96,037.66
Bill 05/20/2016 2110 Aurora Well Service, LLC 06/19/2016 135.74
Bill 05/20/2016 2181 Shirleyville Enterprises, LLC 06/19/2016 11,542.56
Bill 06/09/2016 5-444-38522 Federal Express 06/19/2016 36.52
Bill 05/24/2016 767 North Air inc. 06/23/2016 920.00
Bill 05/24/2016 2112 Aurora Well Service, LLC 06/23/2016 86.45
Bill 05/24/2016 2113 Aurora Well Service, LLC 06/23/2016 1,464.72
Bill 05/24/2016 2182 Shirleyville Enterprises, LLC 06/23/2016 6,793.10
Bill 06/13/2016 287003623910 AT&T Mobility 06/23/2016 385.02
Bill 05/26/2016 527427 Industrial Instrument Services, Inc. 06/25/2016 309.00
Bill 05/27/2016 90121297 Enerflex Energy Services (US) Inc. 06/26/2016 5,932.74
Credit 05/24/2016 2184 Shirleyville Enterprises, LLC -489.25
Bill 05/27/2016 90121177 Enerflex Energy Services (US) Inc. 06/26/2016 106.00
Bill 06/17/2016 5-451-84582 Federal Express 06/27/2016 35.75
Bill 06/17/2016 1620320 USAble Life 06/27/2016 30.80
Bill 06/17/2016 10052801 Navia Benefit Solutions 06/27/2016 49.50
Bill 06/17/2016 9002494760 Konica Minolta Business Solutions USA 06/27/2016 453.45
Bill 06/27/2016 38069 Satellite Alaska 06/27/2016 104.55
Bill 06/27/2016 Fast PC Networks 06/27/2016 441.21
Bill 06/08/2016 O'Brien's Response Management 06/28/2016 7,200.00
Bill 06/28/2016 5218960 AIH 06/28/2016 28.80

TOTAL 1-30 DAYS 288,633.13

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UST-16, STATEMENT OF POST-PETITION PAYABLES
PART C - ESTIMATED PROFESSIONAL FEES

 

 

 

INSTRUCTIONS: Report only post-petition professional fees and expenses.
If billing statements are not available, use the best information available to estimate the fees and costs.

actual amounts due.

To the extent possible, use billing statements to report the

 

 

Type of professional

Amount of retainer
(if applicable)

Fees and
expenses from
prior months

expenses added
this month

Total estimated
fees and expenses
at month end

Fees and

 

Debtor's counsel

 

Debtor's accountant

2929.15

Y6.36,50

THORLZS

 

Debtor's other professional
(explain)

 

Trustee’s counsel

 

Creditors’ Committee Counsel

 

Creditors’ Committee other
professional (explain)

 

 

 

 

 

Total estimated post-petition professional fees and costs

 

 

$ 7466.25

 

 

Monthly Financial Report - Corporate or Partnership Debtor

United States Trustee — District of Alaska

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Case 16-00130 Filed 08/19/16 Entered 08/19/16 16:43:03 Doc# 79 Page34 6£324
oS a as oe Por ty Taye AS JZ. LI
Case Number /L-00
Debtor A Utora Gas, LLC Report Mo/r On/ 2014
a oe ae
UST-17, OTHER INFORMATION
INSTRUCTIONS: Answer each question fully and attach additional sheets if necessary to provide a complete response. Yes No

 

Question 1 - Sale or Abandonment of the Debtor’s Assets. Did the debtor, or another party on
behalf of the debtor, sell, transfer, or otherwise dispose of any of the debtor's assets during the

reporting month? Include only sales out of the ordinary course. The debtor must attach an escrow
statement for each sale of real property and an auctioneer's report for each auction.
Escrow Statement

 

Asset Date of Method of Gross Net Proceeds or Auctioneer’s
Description Court Approval Disposition Sales Price Received (&Date) Report Attached?
qe
2.
3.
4.
5.
Total

 

Any disbursements made from escrow or trust accounts from the proceeds of the above transactions should also be
included on the line of UST-14 entitled "Disbursements from sales out of the ordinary course.”

0 |

 

 

 

 

 

 

Question 2 - Financing. During the reporting month, did the debtor receive any funds from an O a]
outside funding source?

Date of Court roval Amount Source of funds Date Received

Total

Question 3 - Insider Loans/Capital Contributions. During the reporting month, did the debtor a a
receive any funds from an officer, director, partner, or other insider of the debtor?

Date of Court Approval Amount Source of funds Date Received

Total
Monthly Financial Report - Corporate or Partnership Debtor Page 14 of 15

United States Trustee — District of Alaska

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Employees resigned/terminated
Number employees at end of month

 

 

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Case Number HF
}
debtor A ror a GaAs, a Report Mary oe {20/4
UST-17, OTHER INFORMATION
Yes | No
Question 4 - Insurance and Bond Coverage. Did the debtor renew, modify, or replace any a O
insurance policies during this reporting month?
Renewals:
Provider New Premium Is a Copy Attached to this Report?

Travers 29,871 Yes

Changes:
Provider New Premium Is a Copy Attached to this Report?
Were any insurance policies canceled or otherwise terminated for any reason during the reporting g d
month? _ If yes, explain.
Were any claims made during this reporting month against the debtor's bond? Answer No if the q 1
debtor is not required to have a bond. If yes, explain.
Question 5 - Personnel Changes. Complete the following:
Full-time Part-time

Number of employees at beginning of month 4 {
Employees added O O

 

o

O

 

 

q

[

 

Gross Monthly Payroll and Taxes

 

$ /03, F094

 

Question 6 - Significant Events.

Explain any significant new developments during the reporting month.

 

Question 7 - Case Progress.
confirmation of a plan of reorganization.

 

Explain what progress the debtor made during the reporting month toward

 

 

Monthly Financial Report - Corporate or Partnership Debtor
United States Trustee — District of Alaska

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(April 2012)

 
